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Information to identify the case:
Debtor 1                 James E. Lamca                                                         Social Security number or ITIN    xxx−xx−4522

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Middle District of Florida
                                                                                                Date case filed for chapter 13 3/29/18
Case number:          6:18−bk−01775−ABB



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         James E. Lamca

2. All other names used in the
   last 8 years
                                              1142 East Normandy Boulevard
3. Address                                    Deltona, FL 32725
                                              Stacy A Eckert                                                Contact phone (386) 775−8228
                                              Stacy A Eckert PA
4. Debtor's  attorney
   Name and address
                                              2445 South Volusia Avenue                                     Email: stacyeckert@cfl.rr.com
                                              Suite C−1
                                              Orange City, FL 32763

5. Bankruptcy Trustee                         Laurie K Weatherford                                          Contact phone 407−648−8841
     Name and address                         Post Office Box 3450
                                              Winter Park, FL 32790

6. Bankruptcy Clerk's Office                                                                                Hours open:
     Documents in this case may be filed      George C. Young Federal Courthouse                            Monday − Friday 8:30 AM − 4:00PM
     at this address.                         400 West Washington Street
     You may inspect all records filed in     Suite 5100
     this case at this office or online at                                                                  Contact phone 407−237−8000
                                              Orlando, FL 32801
      www.pacer.gov.
                                                                                                            Date: March 30, 2018
                                                                                                                  For more information, see page 2

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Debtor James E. Lamca                                                                                                                     Case number 6:18−bk−01775−ABB

7. Meeting of creditors
    Debtors must attend the meeting to     May 3, 2018 at 09:30 AM                                                       Location:
    be questioned under oath. In a joint                                                                                George C. Young Courthouse, Suite 1202−A,
    case, both spouses must attend.                                                                                     400 West Washington Street, Orlando, FL
    Creditors may attend, but are not      The meeting may be continued or adjourned to a                               32801
    required to do so. You are reminded    later date. If so, the date will be on the court
    that Local Rule 5073−1 restricts the   docket.
    entry of personal electronic devices
    into the Courthouse.
                                              *** Debtor(s) must present Photo ID and acceptable
                                             proof of Social Security Number at § 341 meeting. ***
8. Deadlines                               Deadline to file a complaint to challenge                                             Filing deadline: July 2, 2018
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                                   Filing deadline: June 7, 2018
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                                    For a governmental unit: 180 days from
                                           claim:                                                                                the date of filing



                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be filed online at
                                           the Court's website at www.flmb.uscourts.gov, or obtained at www.uscourts.gov or at any bankruptcy clerk's
                                           office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.
                                           Attention Mortgage Holders: Attachments to your Proof of Claim may be required by changes to Rule 3001.
                                           Forms and attachments are available at at www.uscourts.gov.


                                           Deadline to object to exemptions:                                                      Filing deadline:        30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                             conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                              meeting of creditors
                                           may file an objection.

9. Filing of plan, hearing on              The plan will be sent separately. The initial confirmation hearing will be held on:
   confirmation of plan                    June 20, 2018 at 10:01 AM, Location: Courtroom 6B, 6th Floor, George C. Young Courthouse, 400 West
                                           Washington Street, Orlando, FL 32801

                                           Debtors and their attorneys are not required to attend the Initial Confirmation Hearing because, in most cases, the Initial
                                           Confirmation Hearing will be continued to a date after the deadline for filing proofs of claim. However, the Court will hear
                                           and may rule on motions and objections that are separately noticed for hearing for the same time as the Initial Confirmation
                                           Hearing.
                                           Local Rule 5073−1 restricts the entry of electronic devices and mobile phones into the Courthouse.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to extend the deadline in
                                           this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in this case.
    address
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts according to a plan. A plan is
                                           not effective unless the court confirms it. You may object to confirmation of the plan and appear at the confirmation hearing. A copy of
    bankruptcy case                        the plan, if not enclosed, will be sent to you later, and if the confirmation hearing is not indicated on this notice, you will be sent notice
                                           of the confirmation hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.

12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed to creditors, even if
                                           the case is converted to chapter 7. Debtors must file a list of property claimed as exempt. You may inspect that list at the bankruptcy
                                           clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an exemption that debtors claimed, you may
                                           file an objection by the deadline.

13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt. However,
                                           unless the court orders otherwise, the debts will not be discharged until all payments under the plan are made. A discharge
                                           means that creditors may never try to collect the debt from the debtors personally except as provided in the plan. If you
                                           want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and
                                           pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a
                                           discharge of any of their debts under 11 U.S.C. § 1328(f), you must file a motion. The bankruptcy clerk's office must
                                           receive the objection by the deadline to object to exemptions in line 8.
14. Voice Case Info. System                McVCIS provides basic case information concerning deadlines such as case opening and closing date, discharge date and
    (McVCIS)                               whether a case has assets or not. McVCIS is accessible 24 hours a day except when routine maintenance is performed. To
                                           access McVCIS toll free call 1−866−222−8029.


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